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 5
 6   ATTORNEY FOR DEFENDANT
     AHMAD KHAN
 7
 8
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )                CR.-S-09-138-MCE
                                   )
12        PLAINTIFF,               )                STIPULATION AND
                                   )                ORDER TO CONTINUE THE CASE
13        v.                       )                TO THURSDAY, MAY 13, 2010
                                   )
14   AHMAD KHAN, et al,            )
                                   )
15        DEFENDANTS.              )
     _______________________________)
16
17         Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney, Mr. R. Steven Lapham and defendant, MUMRAIZ KHAN by his attorney,
19   Joseph J. Wiseman, defendant NAHEED KHAN, by her attorney, Michael D. Long,
20   and AHMAD KHAN, by his attorney, Mr. James R. Greiner, hereby stipulate and
21   agree that the status conference calendared for Thursday, April 8, 2010, at 9:00 a.m.
22   before the Honorable United States District Court Judge, Morrison C. England, Jr. ,
23   may be continued to Thursday, May 13, 2009, at 9:00 a.m.
24         The Court’s courtroom deputy, Ms. Keshia Jones, has been contacted to ensure
25   the Court’s calendar was available for that date and the Court is available on
26   Thursday, May 13, 2010.
27         The defendants are out of custody. There is no trial date set.
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 1         The parties agree and stipulate that all of time exclusions from the Speedy Trial
 2   Act are correct, necessary and specifically agreed that the failure to grant a
 3   continuance in this case would deny defense counsel reasonable time necessary for
 4   effective preparation, taking into account the exercise of due diligence. In addition,
 5   the parties agree and stipulate that the ends of justice would be served by granting the
 6   requested continuance outweigh the best interests of the public and the defendants in
 7   a speedy trial. Therefore the parties agree and stipulate that time under the Speedy
 8   Trial Act shall continue be excluded up to and including Thursday, May 13 , 2010,
 9   under the Speedy Trial Act under Local Code T-4 (time for defense counsel
10   preparation) and Title 18 U.S.C. section 3161(h)(8)(B)(iv)
11                        PROCEDURAL STATUS OF THE CASE
12         Defense counsel for AHMAD KHAN, Mr. James R. Greiner, having been
13   appointed on December 15, 2009 (See Docket # 74 and 75) is still reviewing and
14   meeting with his client regarding the discovery produced by the government. In
15   addition, the parties are engaging in discussions toward resolving this case by plea
16   which, if this occurs, will save the Court and the United States Attorney Office
17   valuable resources which can be used in other ways. Thus, the time requested is
18   reasonable and with all parties engaging in good faith negotiations, will hopefully
19   bear a result all parties can endorse.
20
21
22                                    Respectfully submitted,
23                                    BENJAMIN B. WAGNER
                                      UNITED STATES ATTORNEY
24
                                      /s/ R. STEVEN LAPHAM by telephone
25                                    authorization
26   DATED: 4-6-10                    _____________________________________
                                      R. STEVEN LAPHAM
27                                    ASSISTANT UNITED STATES ATTORNEY
28                                               2
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 1                                     ATTORNEY FOR THE PLAINTIFF
 2   DATED: 4-6-10                     /s/ JOSEPH J. WISEMAN by telephone authorization
 3                                     __________________________________________
                                       JOSEPH J. WISEMAN
 4                                     Attorney for defendant MUMRAIZ KHAN
 5   DATED: 4-6-10                     /s/ MICHAEL D. LONG by e mail authorization
                                       ________________________________________
 6                                     MICHAEL D. LONG
                                       Attorney for Defendant NAHEED KHAN
 7
 8   DATED: 4-6-10                     /s/ James R. Greiner
                                       _______________________________________
 9                                     James R. Greiner
                                       Attorney for Defendant AHMAD KHAN
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11
12                                           ORDER
13           This matter having come before the Court pursuant to the Stipulation of the
14   parties, and good cause appearing, therefor,
15           IT IS ORDERED THAT: the hearing now set for Thursday, April 8, 2010, at
16   9:00 a.m., is vacated and the matter is set for a status conference on Thursday, May
17   13, 2010, at 9:00 a.m..
18           Further, the Court, finds that time will be excluded under local code T-4, that
19   time is to be excluded for the reasonable time necessary for effective preparation by
20   defense counsel and Title 18 U.S.C. section 3161(h)(7)(B)(iv), of the speedy trial act.
21   The time under the Speedy Trial Act is excluded from Thursday, April 8, 2010 to
22   Thursday, May 13, 2010. In addition, the Court specifically finds that the failure to
23   grant a continuance in this case would deny defense counsel reasonable time
24   necessary for effective preparation, taking into account the exercise of due diligence.
25   ///
26   ///
27   ///
28                                               3
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 1   ///
 2   The Court finds that the ends of justice to be served by granting the requested
 3   continuance outweigh the best interests of the public and the defendants in a speedy
 4   trial.
 5                 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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 7
      Dated: April 8, 2010
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                                             ________________________________
 9                                           MORRISON C. ENGLAND, JR.
10
                                             UNITED STATES DISTRICT JUDGE

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